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                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                      ___________________

                                          No: 20-3126
                                      ___________________

                               Angela Craig; Jenny Winslow Davies

                                               Plaintiffs - Appellees

                                                  v.

               Steve Simon, in his official capacity as Minnesota Secretary of State

                                              Defendant - Appellee

                                           Tyler Kistner

                                        Intervenor Defendant - Appellant

                                     ------------------------------

                                  U.S. House of Representatives

                               Amicus on Behalf of Appellee(s)
______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                               (0:20-cv-02066-WMW)
______________________________________________________________________________

                                           JUDGMENT


Before LOKEN, COLLOTON and BENTON, Circuit Judges.


       This appeal from the United States District Court was submitted on the record of the

district court, briefs of the parties and was argued by counsel.

       After consideration, it is hereby ordered and adjudged that the order of the district court

in this cause is affirmed in accordance with the opinion of this Court.

                                                        November 20, 2020
Order Entered in Accordance with Opinion:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans
